                IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                         SOUTHERN DIVISION
                          NO. 7:19-CR-00131-D

UNITED STATES OF AMERICA

              v.

MICHELLE MARIE MOORE


                            FINAL ORDER OF FORFEITURE

       WHEREAS, on July 15, 2020, this Court entered an Order of Forfeiture as to

Proceeds in the amount of $37,944.00 against the defendant Michelle Marie Moore,

and a Preliminary Order of Forfeiture as to certain Substitute Property, to wit:

$6,875.00 in U.S. Currency seized from Michelle Marie Moore on August 20, 2019 and

the balance of any and all funds on deposit at Wells Fargo Bank Account No.

xxxxxx1840, held in the name of Michelle Marie Moore, which amount was $5,528.66.

      AND WHEREAS, the United States published notice of this forfeiture at the

www.forfeiture.gov web site for at least 30 consecutive days, between September 26,

2020 and October 26, 2020, as required by Rule G(4)(a)(iv)(C) of the Supplemental

Rules for Admiralty of Maritime Claims and Asset Forfeiture Actions. Said published

notice advised all third parties of their right to the petition the court within sixty (60)

days from the first day of publication date for a hearing to adjudicate the validity of

their alleged legal interest in the forfeited property;




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      AND WHEREAS, it appears from the record that no claims, contested or

otherwise, have been filed for any of the subject property described in this Court's

Preliminary Order of Forfeiture.

      It is HEREBY ORDERED, ADJUDGED and DECREED:

      1.      That $6,875.00 in U.S. Currency listed in the July 15, 2020 Preliminary

Order. of Forfeiture, is hereby forfeited to the United States. The United States

Marshals Service is directed to dispose of the property according to law.

      2.      That the $5,528.66 in U.S. Currency seized from the Wells Fargo Bank

Account xxxxxx1840 in the name of Michelle Marie Moore, listed in the July 15, 2020

Preliminary Order of Forfeiture, is hereby forfeited to the United States. The United

States Marshals Service is directed to dispose of the property according to law.

      3.      That any and all forfeited funds shall be deposited by the United States

Department of Justice as soon as located or recovered into the Department of Justice's

Assets Forfeiture Fund in accordance with 28 U.S.C. § 524(c) and 21 U.S.C. § 881(e).

      4.      That the government shall credit any and all forfeited funds against the

$37,944.00 forfeiture money judgment set forth in the Court's Order of Forfeiture as

to Proceeds. That the value of the substitute property, $6,875.00 in U.S. Currency,

and the $5,528.66 in U.S. Currency, shall be credited toward the $37,944.00 forfeiture

money judgment, leaving a balance of $25,540.34 yet to be satisfied.

      SO ORDERED this ~ day of           .:r;_,.. v<Mj     • 2021.



                                        J   ES C. DEVER III
                                        United States District Judge

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